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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JULIE ELLEN WARTLUFT F/K/A JULIE
ELLEN BARTELS AND FREDERICK L.
BARTELS, JR., Individually and as
Administrators of the Estate of Abrielle Kira
Bartels, Deceased,

C.A. NO.:
1:16-cv-02145-CCC

   
 
   

 

Plaintiffs,
vs. (CONNER, C.J.)
THE MILTON HERSHEY SCHOOL, : (CARLSON, MJ.)
and
THE HERSHEY TRUST COMPANY, AS
TRUSTEE OF THE MILTON HERSHEY FILED
SCHOOL TRUST, HARRISBURG
Defendants. NOV 30 2017
ORDER

DEPUTY CLERK
(nw
Now, this 30 day of Novedes” , 2017, in light of the

 

concurrence of the parties and the March 9, 2017, Subpoena to Produce
Documents, Information, or Objects in a Civil Action directed to Philhaven, the
Court hereby enters this Qualified Protective Order regarding discovery sought
from Philhaven:

1. Regarding the Subpoena to Produce Documents, Information, or
Objects in a Civil Action, Philhaven shall, within fourteen days of service of this
Qualified Protective Order, produce to Defendants’ counsel the following records

regarding Abrielle Kira Bartels, Deceased: (1) a complete copy of the medical
 

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record; (2) a complete copy of the medical bill; (3) a complete copy of the release
of information file; and (4) a complete copy of the accounting of disclosures
(collectively, “Medical Records”), subject to the following:

(a) Defendants’ counsel shall maintain the confidentiality of the
Medical Records by not disclosing any portion of the records to anyone other than
the Court under seal, Plaintiffs’ counsel, and Defendants’ expert witnesses.
Plaintiffs’ counsel shall maintain confidentiality of the Medical Records by not
disclosing any portion of the contents of the records to anyone other than the Court
under seal and Plaintiffs’ expert witnesses. Neither Defendants’ counsel nor
Plaintiffs’ counsel shall release any portion of the records to any other third parties
and counsel shall instruct their expert witnesses not to do so under penalty of being
held in contempt of Court.

(b) At the conclusion of this litigation, Defendants’ counsel and
Plaintiffs’ counsel shall destroy Philhaven’s Medical Records, including records
provided to their experts.

(c) Under no circumstances shall counsel for the parties or their
experts use the information contained in the Medical Records for purposes other
than this lawsuit, and counsel shall instruct their expert witnesses not to do so

under penalty of being held in contempt of Court.
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2. Regarding any Subpoenas to Testify at a Deposition in a Civil Action,
the following Qualified Protective Order shall apply to the deposition of any
Philhaven physician or employee:

(a) Only counsel for the parties, a court reporter, videographer, the
witness, a representative of Defendants, Plaintiffs, and counsel for Philhaven shall
be permitted to attend the deposition.

(b) The transcript and any audio-video recordings of Philhaven
witnesses shall be marked “Confidential” and shall not be disclosed to anyone
other than the Court under seal and the parties’ expert witnesses. Neither
Defendants’ counsel nor Plaintiffs’ counsel shall release the transcripts or any
portion of the transcripts, or audio-video recordings or any portion of any audio-
video recordings to any other third parties and counsel shall instruct their expert
witnesses and court reporters not to do so under penalty of being held in contempt
of Court.

(c) At the conclusion of this litigation, Defendants’ counsel and
Plaintiffs’ counsel shall destroy the transcripts and audio-video recordings,
including the transcripts and audio-video recordings provided to their experts.

(d) Under no circumstances shall counsel for the parties or their
experts use the information contained in the transcripts or audio-video recordings

or the testimony acquired from Philhaven’s witnesses for purposes other than this
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lawsuit and counsel shall instruct their expert witnesses and court reporters not to
do so under penalty of being held in contempt of Court.

3. The purpose of this Order is to insure compliance with the privacy
provisions of the Pennsylvania Mental Health Procedures Act, 50 Pa. Cons. Stat.
Ann. § 7111, and the Privacy Rule issued pursuant to the Health Insurance
Portability and Accountability Act, 45 C.F.R. § 164.512(e). In the latter case, this
Order constitutes a Qualified Protective Order within the meaning of 45 C.F.R. §

164.512(e). —

 

United States District Court
Middle District of Pennsylvania
